Case 3:17-cv-00072-NKM-JCH Document 1212-2 Filed 10/12/21 Page 1 of 5 Pageid#:
                                  20281




                   EXHIBIT 2
Case
   Case
     3:17-cv-00072-NKM-JCH
        3:18-cr-00011-MFU Document
                           Document441212-2
                                       Filed 03/27/19
                                              Filed 10/12/21
                                                        Page 1Page
                                                               of 4 2Pageid#:
                                                                      of 5 Pageid#:
                                                                              84
                                    20282



                                           IN THE
                                UNITED STATES DISTRICT COURT
                                          FOR THE
                                WESTERN DISTRICT OF VIRGINIA
                                 CHARLOTTESVILLE DIVISION

    UNITED STATES OF AMERICA                                Criminal No. 3:18-CR-00011

              v.

    JAMES ALEX FIELDS


                                      STATEMENT OF OFFENSE

           The offenses described below occurred within the Western District of Virginia, as well as
    other districts. This Statement of Offense briefly summarizes the facts and circumstances
    surrounding the defendant's criminal conduct. It does not contain all of the information obtained
    during this investigation and applicable to an accurate Presentence Report and Sentencing
    Guidelines calculation.

           This statement of facts is not protected by proffer agreement or any other agreement.
    Except in the event the attached plea agreement is not approved as contemplated by Paragraph E,
    Section 1, this statement of facts shall be wholly admissible at trial in the event this plea is later
    withdrawn, notwithstanding any Rules or statutes to the contrary, including but not limited to,
    Federal Rules ofEvidence 408 and 410, and Federal Rule of Criminal Procedure 11.

            Defendant JAMES ALEX FIELDS, JR. ("FIELDS") acknowledges and agrees that, in
    proving the elements of the crimes to which he is pleading guilty, the United States can establish
    the following facts beyond a reasonable doubt, and that these facts constitute an adequate basis
    for his pleas of guilty.

            Prior to August 12, 2017, Defendant FIELDS obtained multiple social media accounts,
    which he used to express his beliefs regarding race, national origin, religion, and other topics.
    On these accounts, FIELDS expressed and promoted his view that white people are superior to
    other races and peoples; expressed support of the social and racial policies of Adolf Hitler and
    Nazi-era Germany, including the Holocaust; and espoused violence against African Americans,
    Jewish people, and members of other racial, ethnic, and religious groups he perceived to be non-
    white. FIELDS also expressed these views directly in interactions with individuals known to
    him.

           In or around the spring and summer of2017, an event referred to as the "Unite the Right"
    rally was organized and scheduled to occur on August 12, 2017, at Emancipation Park in
    Charlottesville, Virginia, which is within the Western District of Virginia. This rally was widely

                                                    1 of4
Case
   Case
     3:17-cv-00072-NKM-JCH
        3:18-cr-00011-MFU Document
                           Document441212-2
                                       Filed 03/27/19
                                              Filed 10/12/21
                                                        Page 2Page
                                                               of 4 3Pageid#:
                                                                      of 5 Pageid#:
                                                                              85
                                    20283



    promoted on social media and internet sites associated with white-supremacist individuals and
    groups, and was scheduled to feature a lineup of well-known white-supremacist speakers.

           On or about the afternoon of August 11, 2017, Defendant FIELDS departed Maumee,
    Ohio, driving his gray Dodge Challenger bearing Ohio license plate GVF -1111, and arrived in
    Charlottesville, Virginia, in the early morning of August 12, 2017.

           On the morning of August 12, 2017, Defendant FIELDS arrived in and around the
    immediate vicinity of Emancipation Park in Charlottesville, Virginia, to attend the Unite the
    Right rally. Multiple groups and individuals espousing white-supremacist and other anti-Semitic
    and racist views also attended the rally. That morning, these rally participants, including
    FIELDS, engaged in chants promoting or expressing white-supremacist and other racist and anti-
    Semitic views.

            On August 12, 2017, shortly before the scheduled start of the Unite the Right rally, law
    enforcement declared an "unlawful assembly" and required rally participants, including
    Defendant FIELDS, to disperse. FIELDS later returned to his vehicle and began to drive on the
    streets of Charlottesville, Virginia.

            On August 12, 2017, Defendant FIELDS drove his car onto Fourth Street, a narrow,
    downhill, one-way street in downtown Charlottesville. At or around that same time, a racially
    and ethnically diverse crowd had gathered at the bottom of the hill, at the intersection of Fourth
    and East Water ("Water") Streets. Many of the individuals in the crowd were celebrating as they
    were chanting and carrying signs promoting equality and protesting against racial and other
    forms of discrimination. FIELDS slowly proceeded in his vehicle down Fourth Street toward the
    crowd and stopped and observed the crowd while idling in his vehicle. With no vehicle behind
    him, FIELDS then slowly reversed his vehicle back up Fourth Street toward the top of the hill,
    near the intersection of Fourth and East Market ("Market") Streets.

            At or around that same time, the members of the crowd began to walk up Fourth Street
    from Water Street toward Market Street, populating the streets and sidewalks between the
    buildings on Fourth Street. Having reversed his car to a point at or near the top of the hill and
    the intersection of Fourth and Market Streets, Defendant FIELDS stopped his vehicle. FIELDS
    then rapidly accelerated forward down Fourth Street in his vehicle, running through a stop sign
    and across a raised pedestrian mall, and drove directly into the crowd. FIELDS's vehicle
    stopped only when it struck another stopped vehicle near the intersection of Fourth and Water
    Streets. FIELDS then rapidly reversed his car and fled the scene.- As FIELDS drove into and
    through the crowd, FIELDS struck numerous individuals, killing Heather Heyer (as listed in
    Count One of the Indictment) and causing bodily injury, or attempting to cause bodily injury
    using his vehicle, a dangerous weapon, to the following individuals, as listed in Counts Two
    through Twenty-Nine of the Indictment:

                                    Count Two                M.B.
                                    Count Three              M.M.

                                                  2 of4
Case
   Case
     3:17-cv-00072-NKM-JCH
        3:18-cr-00011-MFU Document
                           Document441212-2
                                       Filed 03/27/19
                                              Filed 10/12/21
                                                        Page 3Page
                                                               of 4 4Pageid#:
                                                                      of 5 Pageid#:
                                                                              86
                                    20284



                                   Count Four              c.c.
                                   Count Five              T.B.
                                   Count Six               W.B.
                                  Count Seven              N.L.
                                  Count Eight              E.B.
                                   Count Nine              A.M.
                                   Count Ten               N.M.
                                  Count Eleven             C.A.
                                  Count Twelve             N.R.
                                 Count Thirteen           M.A.N.
                                 Count Fourteen            s.s.
                                  Count Fifteen            K.A.
                                  Count Sixteen            C.M.
                                Count Seventeen            M.R.
                                 Count Eighteen            A. H.
                                 Count Nineteen            K.T.
                                  Count Twenty             S.L.
                               Count Twenty-One            C.Y.
                               Count Twenty-Two            L.Q.
                               Count Twenty-Three          T.W.
                               Count Twenty-Four           M.W.
                               Count Twenty-Five           B.H.
                                Count Twenty-Six           L.S.
                               Count Twenty-Seven          M.J.
                               Count Twenty-Eight          A.J.
                               Count Twenty-Nine           A.R.


            Defendant FIELDS drove into the crowd because of the actual or perceived race, color,
    religion, and/or national origin of individuals in the crowd, and his actions in doing so were
    willful and included an attempt to kill.




                                                             JmnesAieXFiel&
                                                             Defendant

                                                  3 of4
Case
   Case
     3:17-cv-00072-NKM-JCH
        3:18-cr-00011-MFU Document
                           Document441212-2
                                       Filed 03/27/19
                                              Filed 10/12/21
                                                        Page 4Page
                                                               of 4 5Pageid#:
                                                                      of 5 Pageid#:
                                                                              87
                                    20285




      Date                                         ~Frederick T. Heblich, r.
                                                    Interim Federal Public Defender


      Date                                        ~~
                                                  LisaMLOriSh
                                                    Assistant Federal Public Defender
                                                    Counsel for James Fields




      '<:.:. - :;)... I -
      Date
                            I   9                  ~ea~
                                                    Thomas T. Cullen
                                                    United States Attorney



      Date                                          Christopher Kavanau
                                                    Assistant United States Attorney



                                                    Risa Berkower
                                                    Rachel Kincaid
                                                    Trial Attorneys
                                                    Civil Rights Division
                                                    U.S. Department of Justic




   Defendant's Initials:        JF
